            Case 3:11-cr-05079-BHS          Document 22        Filed 01/09/15     Page 1 of 2




 1

 2

 3

 4

 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT TACOMA

 7
        UNITED STATES OF AMERICA,
 8
                                                           CASE NO. CR11-5079BHS
                               Plaintiff,
 9                                                         ORDER
                 v.
10
        MIGUEL PEREZ-ESPINOSA,
11
                               Defendant.
12
            This matter comes before the Court on the Defendant’s Unopposed Motion to Continue
13
     Trial Date and Pretrial Motions Due Date. The Court, having considered the unopposed motion
14
     and the Defendant’s speedy trial waiver, makes the following findings of fact and conclusions of
15
     law:
16          1. Discovery in this matter is ongoing, and the government has indicated there may be

17 additional charges forthcoming.

18          2. The defense needs additional time to investigate all factual allegations, locate and

19 interview witnesses, conduct legal research and prepare and file pretrial motions.

20          3. The defense needs additional time to explore all relevant issues and defenses

21 applicable to the case, which would make it unreasonable to expect adequate preparation for

22


     ORDER - 1
            Case 3:11-cr-05079-BHS             Document 22     Filed 01/09/15      Page 2 of 2




 1 pretrial proceedings or for trial itself within the time limits established by the Speedy Trial Act

 2 and currently set for this case. 18 U.S.C. § 3161(h)(7)(B)(ii).

 3          4. Taking into account the exercise of due diligence, a continuance is necessary to allow

     the defendant the reasonable time for effective preparation his defense, to explore resolution of
 4
     this case before trial and to ensure continuity of defense counsel. 18 U.S.C. § 3161(h)(7)(B)(iv).
 5
            5. Proceeding to trial absent adequate time for the defense to prepare would result in a
 6
     miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(i).
 7
            6. The ends of justice served by granting this continuance outweigh the best interests of
 8
     the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A) and (B).
 9
            7. Defendant waived speedy trial through April 30, 2015.
10          NOW, THEREFORE, IT IS HEREBY ORDERED
11          That the trial date is continued from January 20, 2015, to March 31, 2015, at 9:00 a.m.;

12 Pretrial Conference is set for March 23, 2015, at 2:30 p.m.; pretrial motions are due by February

13 26, 2015. The resulting period of delay from January 9, 2015, to March 31, 2015, is hereby

14 excluded for speedy trial purposes under 18 U.S.C. § 3161(h)(7)(A) and (B)

15          Dated this 9th of January, 2015.

16

17

18

19
                                                   A
                                                   BENJAMIN H. SETTLE
                                                   United States District Judge

20

21

22


     ORDER - 2
